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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
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                                                                                      :   Index No. 650952/2022
         HUDSON PRIVATE LP,                                                           :
                                                                                      :
                                                  Plaintiff,                          :   Motion Seq. # 1
                                                                                      :
                                                                                      :   STIPULATION OF
                                              v.                                      :   ADJOURNMENT
                                                                                      :
                                                                                      :
         CREATIVE WEALTH MEDIA FINANCE CORP.,                                         :
                                                                                      :
                                                  Defendant.                          :
         - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                   IT IS STIPULATED AND AGREED by and between Plaintiff Hudson Private LP

         (“Plaintiff”) and Defendant Creative Wealth Media Finance Corp. (“Defendant”), by and through

         their undersigned counsel, that:

                   1.        The April 29, 2022 return date for Plaintiff’s Motion for Summary Judgment in

         Lieu of Complaint (Mot. Seq. No. 1) (the “Motion”) is hereby adjourned to June 28, 2022;

                   2.        Defendant’s answering papers in response to the Motion shall be filed via

         NYSCEF on or before May 13, 2022;

                   3.        Plaintiff’s reply papers shall be filed via NYSCEF on or before June 27, 2022;

                   4.        Nothing herein constitutes a waiver or forfeiture of any objection to the timeliness

         of any Notice of Removal; and

                   IT IS FURTHER STIPULATED AND AGREED that this Stipulation may be signed

         in counterparts, and facsimile and .pdf copies of such counterparts may be submitted to the Court

         and shall be binding upon the parties as if they were originals.




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         Dated: New York, New York
                April 20, 2022

         MEISTER SEELIG & FEIN LLP                     HERRICK, FEINSTEIN LLP
              /s/ Kevin A. Fritz
         By: ________________________                  By: ________________________

         Kevin A. Fritz, Esq.                          William R. Fried, Esq.
         125 Park Avenue                               Samuel J. Bazian, Esq.
         7th Floor                                     2 Park Avenue
         New York, NY 10017                            New York, New York 10016
         Tel.: (212) 655-3570                          Tel.: (212) 592-1400
         Attorneys for Plaintiff                       Attorneys for Defendant




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                                      :   Index No. 650952/2022
         HUDSON PRIVATE LP,                                                           :
                                                                                      :
                                                  Plaintiff,                          :   Motion Seq. # 1
                                                                                      :
                                                                                      :   SO-ORDERED STIPULATION
                                              v.                                      :   OF ADJOURNMENT
                                                                                      :
                                                                                      :
         CREATIVE WEALTH MEDIA FINANCE CORP.,                                         :
                                                                                      :
                                                  Defendant.                          :
         - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                   IT IS STIPULATED AND AGREED by and between Plaintiff Hudson Private LP

         (“Plaintiff”) and Defendant Creative Wealth Media Finance Corp. (“Defendant”), by and through

         their undersigned counsel that:

                   1.        The June 28, 2022, return date for Plaintiff’s Motion for Summary Judgment in

         Lieu of Complaint (Mot. Seq. No. 1) (the “Motion”) is hereby adjourned to August 12, 2022;

                   2.        Defendant’s answering papers in response to the Motion shall be filed via

         NYSCEF on or before June 16, 2022;

                   3.        Plaintiff’s reply papers shall be filed via NYSCEF on or before August 11, 2022;

                   4.        Nothing herein constitutes a waiver or forfeiture of any objection to the timeliness

         of any Notice of Removal; and

                   IT IS FURTHER STIPULATED AND AGREED that this Stipulation may be signed

         in counterparts, and facsimile and .pdf copies of such counterparts may be submitted to the Court

         and shall be binding upon the parties as if they were originals.




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         Dated: New York, New York
                May 20, 2022

         MEISTER SEELIG & FEIN LLP                       HERRICK, FEINSTEIN LLP

             /s/ Kevin A. Fritz
         By: ________________________                    By: ________________________

         Kevin A. Fritz, Esq.                            William R. Fried, Esq.
         125 Park Avenue                                 Samuel J. Bazian, Esq.
         7th Floor                                       2 Park Avenue
         New York, NY 10017                              New York, New York 10016
         Tel.: (212) 655-3570                            Tel.: (212) 592-1400
         Attorneys for Plaintiff                         Attorneys for Defendant




         Dated:

                                                      SO ORDERED:


                                                      ___________________________
                                                      Hon. Melissa A. Crane




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               SUPREME                  COURT              OF THE             STATE            OF NEW                 YORK
               COUNTY                 OF NEW               YORK
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                                                                                                                                     :       Index         No.         650952/2022
               HUDSON                 PRIVATE              LP,                                                                       :


                                                                             Plaintiff,                                              :       Motion           Seq.       # 1


                                                                                                                                     :       SO-ORDERED                         STIPULATION                         .
                                                                      v.                                                             :       OF ADJOURNMENT



               CREATIVE                    WEALTH               MEDIA               FICANCE              CORP.,


                                                                             Defendant.




                               IT     IS     STIPULATED                         AND           AGREED                   by        and      between          Plaintiff         Hudson          Private          LP



               ("Plaintiff")               and    Defendant             Creative            Wealth        Media             Finance         Corp.      ("Defendant"),                  by and        through


               their      undersigned              counsel         that:


                                1.           The       June      28,        2022,         return       date      for    Plaintiff's              Motion          for     Summary         Judgment              in


               Lieu       of Complaint                 (Mot.      Seq.        No.       1) (the       "Motion")               is hereby          adjourned              to August        12, 2022;


                                2.           Defendant's                    answering              papers         in    response             to      the     Motion            shall     be        filed      via


               NYSCEF                on or before              June        16, 2022;


                                3.           Plaintiff's          reply        papers         shall     be filed            via     NYSCEF            on or before             August         11, 2022;


                                4.           Nothing            herein        constitutes             a waiver          or forfeiture               of any       objection          to the    timeliness                 .


                  of any    Notice          of    Removal;             and
     .                                                                                                                                                                                         .


                                IT    IS    FURTHER                    STIPULATED                        AND           AGREED                that     this       Stipulation           may     be signed


                  in counterparts,               and    facsimile.and                .pdf      copies           of such           counterparts            may      be submitted           to the           Court


                  and   shall        be binding          upon         the     parties        as if they          were        originals.




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              Dated:         New         York,          New   York

                              May        20,     2022


              MEISTER                SEELIG               & FEIN     LLP                             HERRICK,                 FEINSTEIN           LLP


              By:      /s/    Kevin         A.    Fritz                                              By:                                            ----



              Kevin          A.    Fritz,        Esq.                                                William       R. Fried,           Esq.
                  125 Park         Avenue                                                            Samuel        J. Bazian,            Esq.
              7th     Floor                                                                          2 Park      Avenue
              New         York,          NY       10017                                              New       York,          New     York      10016
              Tel.:       (212)          655-3570                                                    Tel.:      (212)         592-1400
              Attorneys            for      Plaintiff                                                Attorneys          for     Defendant




              Dated:


                                                                                              SO     ORDERED:




                                                                                              Hon.    Melissa          A.     Crane




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
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                                                                                      :   Index No. 650952/2022
         HUDSON PRIVATE LP,                                                           :
                                                                                      :
                                                  Plaintiff,                          :   Motion Seq. # 1
                                                                                      :
                                                                                      :   STIPULATION FOR
                                              v.                                      :   BRIEFING SCHEDULE
                                                                                      :
                                                                                      :
         CREATIVE WEALTH MEDIA FINANCE CORP.,                                         :
                                                                                      :
                                                  Defendant.                          :
         - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                   IT IS STIPULATED AND AGREED by and between Plaintiff Hudson Private LP

         (“Plaintiff”) and Defendant Creative Wealth Media Finance Corp. (“Defendant”), by and through

         their undersigned counsel that:

                   1.        The August 12, 2022 return date for Plaintiff’s Motion for Summary Judgment in

         Lieu of Complaint (Mot. Seq. No. 1) (the “Motion”) is unchanged;

                   2.        Defendant’s answering papers in response to the Motion shall be filed via

         NYSCEF on or before June 30, 2022;

                   3.        Plaintiff’s reply papers shall be filed via NYSCEF on or before August 11, 2022;

                   4.        Nothing herein constitutes a waiver or forfeiture of any objection to the timeliness

         of any Notice of Removal; and

                   IT IS FURTHER STIPULATED AND AGREED that this Stipulation may be signed

         in counterparts, and facsimile and .pdf copies of such counterparts may be submitted to the Court

         and shall be binding upon the parties as if they were originals.




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         Dated: New York, New York
                June 14, 2022

         MEISTER SEELIG & FEIN LLP                     HERRICK, FEINSTEIN LLP
              /s/ Kevin A. Fritz                            /s/ Samuel J. Bazian
         By: ________________________                  By: ________________________

         Kevin A. Fritz, Esq.                          William R. Fried, Esq.
         125 Park Avenue                               Samuel J. Bazian, Esq.
         7th Floor                                     2 Park Avenue
         New York, NY 10017                            New York, New York 10016
         Tel.: (212) 655-3570                          Tel.: (212) 592-1400
         Attorneys for Plaintiff                       Attorneys for Defendant




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